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           IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:10CR158
                              )
          v.                  )
                              )
SANDRA OLIVIA MEDINA,         )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for permission to seal (Filing No. 553), and motion to continue

sentencing (Filing No. 554).        The Court finds the motion for

permission to seal should be granted.

           The Court also notes plaintiff has no objection to

defendant’s motion to continue sentencing.             Accordingly,

           IT IS ORDERED:

           1) Defendant’s motion for permission to seal is

granted.   The motion to continue sentencing shall remain sealed

pending further order of the Court.

           2) Defendant’s motion to continue sentencing is

granted; sentencing in this matter is rescheduled for:

                 Thursday, January 31, 2013, at 10:30 a.m.
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Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

           DATED this 26th day of November, 2012.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




                                     -2-
